          Case 21-15113-VFP                       Doc 1     Filed 06/22/21 Entered 06/22/21 23:38:12                              Desc Main
                                                            Document     Page 1 of 13
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                  NJ
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Supportive Health LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                   8 0      0 1 9 8 8 6 3
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                                  72 Van Reipen Ave #353
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                                  Jersey City                 NJ         07306
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                                  Hudson
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                      N/A
                                              ____________________________________________________________________________________________________




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor         Supportive Health LLC
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             ___
                                             5   ___
                                                  3  ___
                                                      1  ___
                                                          1


 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor           Supportive Health LLC
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases         No
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
       business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have         No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor         Supportive Health LLC
              _______________________________________________________                            Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                    Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                                1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                               5,001-10,000                               50,001-100,000
       creditors
                                          100-199                             10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                          $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                    $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                   $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                 $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                          $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                    $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                   $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                 $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                              petition.
       debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                           06/07/2021
                                              Executed on _________________
                                                          MM / DD / YYYY


                                          s/ Carline Bolivar
                                              _____________________________________________                Carline Bolivar
                                                                                                           _______________________________________________
                                              Signature of authorized representative of debtor             Printed name

                                                    Executive Member
                                              Title _________________________________________




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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Debtor         Supportive Health LLC
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                         s/ Joseph Lento
                                            _____________________________________________            Date        06/07/2021
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                           Joseph Lento, Esq.
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Lento Law Group, P.C.
                                           _________________________________________________________________________________________________
                                           Firm name
                                           3000 Atrium Way, Suite 200
                                           _________________________________________________________________________________________________
                                           Number     Street
                                           Mt. Laurel
                                           ____________________________________________________             NJ
                                                                                                           ____________  08054
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                           856-652-2000
                                           ____________________________________                             LentoGroupFile@gmail.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                           013252008
                                           ______________________________________________________  NJ
                                                                                                  ____________
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF NEW JERSEY

           In re:
                                                                      Case No.: ___________
           SUPPORTIVE HEALTH LLC,
                                                                      (Chapter 11)
                Debtor.
                                                                      (Joint Administration Requested)


                     Attachment to Voluntary Petition for Non-Individuals Filing for
                                    Bankruptcy under Chapter 11

    1. If any of the debtor=s securities are registered under Section 12 of the Securities Exchange Act of
1934, the SEC file number is                        .

      2. The following financial data is the latest available information and refers to the debtor=s condition on
06/07/2021         .
      a. Total assets                                                            $ 180,282

      b. Total debts (including debts listed in 2.c., below)                     $ 120,000
      c. Debt securities held by more than 500 holders
                                                                                                                 Approximate
                                                                                                                 number of
                                                                                                                 holders:

      secured         unsecured        subordinated              $
      secured         unsecured        subordinated              $
      secured         unsecured        subordinated              $
      secured         unsecured        subordinated              $
      secured         unsecured        subordinated              $

      d. Number of shares of preferred stock                                                                     0
      e. Number of shares common stock                                                                           100

      Comments, if any:



      3. Brief description of debtor=s business: Single Property LLC



    4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
5% or more of the voting securities of debtor:
Carline Bolivar




Official Form 201A            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
          Case 21-15113-VFP                   Doc 1      Filed 06/22/21 Entered 06/22/21 23:38:12                               Desc Main
                                                         Document     Page 7 of 13
 Fill in this information to identify the case and this filing:


              Supportive Health LLC
 Debtor Name __________________________________________________________________
                                                                             NJ
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


                                                          List of Equity Holders and Corporate Ownership Statement
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                     06/10/2021
        Executed on ______________                          s/ Carline Bolivar
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Carline Bolivar
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Manager
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF NEW JERSEY

In re:
                                                      Case No.: ___________
SUPPORTIVE HEALTH LLC,
                                                      (Chapter 11)
    Debtor.
                                                      (Joint Administration Requested)


                                     LIST OF SECURITY HOLDERS

  Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following identifies all
  known holders having a direct or indirect ownership interest of the above captioned debtor in possession:

   Name and Last Known                Kind/Class of                      Percentage of
   Address or Place of Business       Ownership Interest                 Ownership Interest
   Holder                                                                Held'
   Carline Bolivar                    Common Stock                       100%
   Supportive Health LLC
   72 Van Reipen St #353
   Jersey City, NJ 07306
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF NEW JERSEY

In re:
                                                       Case No.: ___________
SUPPORTIVE HEALTH LLC,
                                                       (Chapter 11)
    Debtor.
                                                       (Joint Administration Requested)


              CORPORATE OWNERSHIP STATEMENT (RULES 1007(a)(1) AND 7007.1)

  Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 7007.1, the following are
  corporations, other than the debtor or a governmental unit, that directly or indirectly own 10% or more of
  any class of the corporations' equity interests:

   Corporate Equity                   Address of Corporate Equity         Percentage of
   Holder(s)                          Holder(s)                           Equity Held
   N/A                                N/A                                 N/A
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF NEW JERSEY

In re:
                                            Case No.: ___________
SUPPORTIVE HEALTH LLC,
                                            (Chapter 11)
    Debtor.
                                            (Joint Administration Requested)

                             MASTER LIST OF CREDITORS

  City of Milwaukee
  200 E Wells St
  Milwaukee, WI 53202

  Schmidlkofer, Toth, Loeb & Drosen, LLC
  949 Glenview Ave
  Wauwatosa, WI 53213
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      Fill in this information to identify the case:

                  Supportive Health LLC
      Debtor name __________________________________________________________________
                                                                                  NJ
      United States Bankruptcy Court for the: ______________________ District of _________

      Case number (If known):       _________________________
                                                                                          (State)
                                                                                                                                                       Check if this is an
                                                                                                                                                           amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                               12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete              Name, telephone number, and              Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code        email address of creditor                (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                contact                                  debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                         professional          unliquidated,   total claim amount and deduction for value of
                                                                                         services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                         government
                                                                                         contracts)
                                                                                                                               Total claim, if    Deduction for       Unsecured
                                                                                                                               partially          value of            claim
                                                                                                                               secured            collateral or
                                                                                                                                                  setoff

1     City of Milwaukee                          Kevin Sullivan                          Municipal              Disputed                                               115,000.00
      200 E Wells St                             City of Milwaukee Attorney              Judgments
      Milwaukee, WI 53202                        200 E. Wells St, Rm 800
                                                 Milwaukee, WI 53202
                                                 414-286-2601

2     Schmidlkofer, Toth, Loeb & Drosen, LLC    Basil Loeb                               Professional                                                                      5,000.00
      949 Glenview Ave                          Schmidlkofer, Toth, Loeb & Drosen, LLC
      Wauwatosa, WI 53213                       949 Glenview Ave
                                                Wauwatosa, WI 53213
                                                (414) 250-8548



3




4




5




6




7




8




    Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                           page 1
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    Debtor        Supportive Health LLC
                 _______________________________________________________                       Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated,   total claim amount and deduction for value of
                                                                         services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff

9




10




11




12




13




14




15




16




17




18




19




20




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 2
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